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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:14CR276
                                             )
             Plaintiff,                      )
                                             )                MEMORANDUM
             vs.                             )                 AND ORDER
                                             )
THOMAS PEREZ,                                )
                                             )
             Defendant.                      )

      This matter is before the Court on Filing No. 76, the Defendant’s “Formal Petition

in Seeking Sentence Relief under Habeas Corpus with Consideration for New

Constitutional Law of United States Supreme Court as Applicable under Title 28 U.S.C.

Section § 2255(f)(3) upon Collateral Review,” (“§ 2255 Motion”). The § 2255 Motion

references the Supreme Court decision, Johnson v. United States, 135 S. Ct. 2551 (2015),

and the Defendant appears to seek a reduction in his sentence based on that decision.

The Court has reviewed the filings in this case and notes that the Defendant was

sentenced for a controlled substance offense, and possession of a firearm in relation to a

drug trafficking crime. A mandatory minimum sentence was imposed and it appears the

Defendant argues that the Johnson decision would alter his sentence. Also before the

Court is the Defendant’s motion to stay these proceedings (Filing No. 80) and a Motion to

Withdraw (Filing No. 79) filed by the Federal Public Defender. In the motion filed by the

Federal Public Defender, he states that this matter has been reviewed, the defendant

received the statutory mandatory minimum sentence and that the Johnson decision is not

applicable to this case. The Court agrees.
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Accordingly,

      IT IS ORDERED:

      1.       The Defendant’s motion to stay these proceedings (Filing No. 80) is denied;

      2.       The Defendant’s Formal Petition in Seeking Sentence Relief under Habeas

      Corpus with Consideration for New Constitutional Law of United States Supreme

      Court as Applicable under Title 28 U.S.C. Section § 2255(f)(3) upon Collateral

      Review (Filing No. 76) is dismissed;

      3.       A separate Judgment will be issued denying the § 2255 Motion;

      4.       The Motion to Withdraw (Filing No. 79) filed by the Federal Public Defender

      is granted; and

      5.       The Clerk of Court is ordered to mail a copy of this order to the Defendant

      at his last known address.

      DATED this 18th day of August, 2016.


                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          Chief United States District Judge




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